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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DARRIN NEUER,                :              CIVIL ACTION NO. 1:17-CV-1547
                             :
               Plaintiff     :              (Chief Judge Conner)
                             :
         v.                  :
                             :
THOMAS J. ARTHUR and BILLMAN :
TRUCKING, INC.,              :
                             :
               Defendant     :

                                     ORDER

      AND NOW, this 1st day of February, 2018, upon consideration of plaintiff’s

motion (Doc. 9) for remand, it is hereby ORDERED that said motion is GRANTED.

The Clerk is directed to remand this matter to the Cumberland County Court of

Common Pleas and a certified copy of this Order of remand shall be mailed to the

Prothonotary of the State Court.



                                      /S/ CHRISTOPHER C. CONNER
                                      Christopher C. Conner, Chief Judge
                                      United States District Court
                                      Middle District of Pennsylvania
